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                    IN‌T‌ HE‌U
                             ‌ NITED‌S
                                     ‌ TATES‌D
                                             ‌ ISTRICT‌C‌ OURT‌ ‌
                 FOR‌T
                     ‌ HE‌W‌ ESTERN‌D‌ ISTRICT‌O‌ F‌P
                                                    ‌ ENNSYLVANIA‌

SAMMY‌R
      ‌ ODGERS,‌                                            )‌
                                                            )‌
                 Plaintiff,‌                                )‌
                                     ‌                      )‌
        v.‌                           ‌                     )‌ Case No. 2:21-cv-0858
                                       ‌                    )‌
MIDLAND‌‌CREDIT‌M
                ‌ ANAGEMENT,‌I‌ NC.,‌‌                      )‌
                                     ‌                      )‌
          Defendant.‌                ‌                      )‌

                                                COMPLAINT‌

        AND‌N
            ‌ OW‌C
                 ‌ OMES‌P
                        ‌ laintiff‌S
                                   ‌ ammy‌R
                                          ‌ odgers,‌b
                                                    ‌ y‌a
                                                        ‌ nd‌t‌ hrough‌h
                                                                       ‌ is‌u
                                                                            ‌ ndersigned‌

counsel,‌‌and‌f‌ iles‌t‌ his,‌h
                              ‌ is‌C
                                   ‌ omplaint‌a
                                              ‌ gainst‌M
                                                       ‌ idland‌C
                                                                ‌ redit‌M
                                                                        ‌ anagement‌I‌ nc.:‌ ‌

        1. ‌Plaintiff‌i‌ s‌S
                           ‌ ammy‌R
                                  ‌ odgers‌(‌ “Rodgers”),‌a
                                                          ‌ n‌i‌ ndividual.

        2. ‌Defendant‌i‌ s‌M
                           ‌ idland‌C
                                    ‌ redit‌M
                                            ‌ anagement‌I‌ nc.‌(‌ “MCM”),‌a
                                                                          ‌ ‌c‌ ollection‌a
                                                                                          ‌ gency.

        3. ‌Jurisdiction‌i‌ s‌c‌ onferred‌u
                                          ‌ pon‌t‌ his‌C
                                                       ‌ ourt‌p
                                                              ‌ ursuant‌t‌ o‌2
                                                                             ‌ 8‌U
                                                                                 ‌ SC‌1‌ 331‌a
                                                                                             ‌ nd‌1‌ 5‌U
                                                                                                       ‌ SC

1692k(d)‌a
         ‌ s‌t‌ his‌s‌ uit‌i‌ s‌f‌ or‌d
                                      ‌ amages‌a
                                               ‌ nd‌o
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                                                                    ‌ nder‌t‌ he‌F
                                                                                 ‌ air‌D
                                                                                       ‌ ebt‌C
                                                                                             ‌ ollection‌

Practices‌‌Act.‌ ‌

        4. ‌In‌m
               ‌ id-2021,‌a
                          ‌ ‌r‌ epresentative‌o
                                              ‌ f‌M
                                                  ‌ CM‌s‌ poke‌w
                                                               ‌ ith‌R
                                                                     ‌ odgers‌a
                                                                              ‌ bout‌s‌ ettling‌a
                                                                                                ‌

debt‌p
     ‌ urportedly‌a
                  ‌ ssigned‌t‌ o‌t‌ he‌c‌ ollection‌a
                                                    ‌ gency‌b
                                                            ‌ y‌a
                                                                ‌ ‌t‌ hird‌p
                                                                           ‌ arty‌w
                                                                                  ‌ ith‌r‌ eference‌

numbers‌‌20-119876,‌2
                    ‌ 493954,‌3
                              ‌ 42832112,‌X
                                          ‌ XXXX8918,‌P
                                                      ‌ 15‌T
                                                           ‌ 405,‌0
                                                                  ‌ 03,‌a
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                                                                             ‌ riginal‌

creditor‌‌account‌n
                  ‌ umber‌X
                          ‌ XXXXXXXXXXX4734.‌ D
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                                            ‌ ot‌d
                                                 ‌ ispute‌t‌ he‌d
                                                                ‌ ebt‌t‌ hat‌t‌ hey‌w
                                                                                    ‌ ere‌t‌ rying‌t‌ o‌‌

collect‌‌because‌a
                 ‌ ‌d
                    ‌ efault‌j‌ udgment‌a
                                        ‌ gainst‌h
                                                 ‌ im‌w
                                                      ‌ as‌e‌ ntered‌b
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                                                                         ‌ ‌c‌ ourt.‌ ‌MCM‌d
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identify‌‌the‌c‌ ourt‌w
                      ‌ ith‌t‌ he‌a
                                  ‌ lleged‌ ‌

        5. ‌Based‌o
                  ‌ n‌t‌ he‌f‌ alse‌r‌ epresentation‌b
                                                     ‌ y‌M
                                                         ‌ CM’s‌c‌ ollectors,‌R
                                                                              ‌ odgers‌b
                                                                                       ‌ ecame‌v‌ ery

concerned‌a
          ‌ nd‌h
               ‌ ired‌a
                      ‌ ‌l‌ egal‌r‌ esearch‌c‌ ompany,‌A
                                                       ‌ BC‌A
                                                            ‌ gents‌I‌ nc.,‌t‌ o‌i‌ nvestigate‌w
                                                                                               ‌ hether‌

a‌‌judgment‌a
            ‌ gainst‌h
                     ‌ im‌e‌ xisted‌i‌ n‌a
                                         ‌ ny‌s‌ tate‌o
                                                      ‌ r‌f‌ ederal‌c‌ ourt.‌ ‌ABC‌A
                                                                                   ‌ gents‌c‌ harged‌‌

Rodgers‌‌$1,750‌f‌ or‌t‌ his‌s‌ ervice‌a
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                                                           ‌ ‌n
                                                              ‌ ationwide‌s‌ earch‌o
                                                                                   ‌ f‌c‌ ourt‌d
                                                                                               ‌ atabases‌‌
          Case 2:21-cv-00858-NBF Document 1 Filed 07/02/21 Page 2 of 2


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                                                 ‌ nd‌v‌ ariations‌t‌ hereof,‌c‌ ases‌h
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systematically‌e‌ liminated.‌ ‌

        6.‌ T
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                                                    ‌ odgers.‌ O
                                                               ‌ n‌t‌ he‌c‌ ontrary,‌M
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served‌t‌ he‌s‌ uit‌u
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                          ‌ odgers.‌ ‌

        7.‌ T
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                        ‌ CM‌m
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                                         ‌ aterial‌f‌ alse‌r‌ epresentations:‌ F
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                                                                           ‌ gainst‌R
                                                                                    ‌ odgers.‌ ‌

Second,‌i‌ t‌k
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        8.‌ A
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                                                         ‌ elief,‌M
                                                                  ‌ CM‌w
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                                     ‌ isrepresentation.‌ ‌

        9.‌ M
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as‌M
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                                              ‌ SC‌1‌ 692e(2)(A),‌1‌ 5‌U
                                                                       ‌ SC‌1‌ 692e(2)(B)(A),‌a
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other‌s‌ ections‌o
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        WHEREFORE,‌P
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Credit‌M
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                                              ‌ SC‌1‌ 692k,‌i‌ ncluding‌(‌ a)(1)‌H
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Agents;‌(‌ a)(2)‌a
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(a)(3)‌c‌ osts‌a
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                                 ‌ ttorney‌f‌ ees‌f‌ or‌p
                                                        ‌ rosecuting‌t‌ his‌a
                                                                            ‌ ction;‌a
                                                                                     ‌ n‌i‌ njunction‌‌

preventing‌M
           ‌ CM‌f‌ rom‌f‌ urther‌v‌ iolations‌o
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any‌f‌ urther‌r‌ elief‌t‌ hat‌m
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                                   ‌ e‌a
                                       ‌ ppropriate‌a
                                                    ‌ nd‌j‌ ust.‌ ‌

                                                              Respectfully‌s‌ ubmitted,‌ ‌

                                                              /s/‌J‌ .‌A
                                                                       ‌ llen‌R‌ oth,‌E ‌ sq‌________‌
                                                              J.‌A
                                                                 ‌ llen‌R ‌ oth,‌E  ‌ sq.‌(‌ PA‌I‌ D‌3
                                                                                                     ‌ 0347)‌ ‌
                                                              805‌S ‌ ‌A‌ lexandria‌S   ‌ treet‌ ‌
                                                              Latrobe‌P    ‌ A‌ 1‌ 5650‌ ‌
                                                              (724)‌6  ‌ 86-8003‌ ‌
                                                              federal@jarothlaw.com‌ ‌

                                                              ATTORNEY‌F
                                                                       ‌ OR‌S
                                                                            ‌ AMMY‌R
                                                                                   ‌ ODGERS‌ ‌
